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                      UNITED STATES COURT OF APPEALS                         FILED
                              FOR THE NINTH CIRCUIT                           DEC 2 2020
                                                                         MOLLY C. DWYER, CLERK
                                                                           U.S. COURT OF APPEALS
  AL OTRO LADO, a California corporation;          No.    19-56417
  et al.,
                                                   D.C. No.
                  Plaintiffs-Appellees,            3:17-cv-02366-BAS-KSC
                                                   Southern District of California,
   v.                                              San Diego

  CHAD F. WOLF, Acting Secretary, US               ORDER
  Department of Homeland Security; et al.,

                  Defendants-Appellants.

  Before: OWENS, FRIEDLAND, and R. NELSON, Circuit Judges.

        Submission is vacated and appellate proceedings are held in abeyance

  pending issuance of the mandates in East Bay Sanctuary Covenant v. Trump, 950

  F.3d 1242 (9th Cir. 2020) (“East Bay”), in which a petition for rehearing en banc is

  pending, and Capital Area Immigrants’ Rights Coalition v. Trump, No. 20-5273

  (D.C. Cir. filed Oct. 1, 2020) (“CAIR”).

        Within 30 days of the issuance the latter of the mandates in East Bay and

  CAIR, the parties shall each file a supplemental brief of up to 10 pages discussing

  the implications of the dispositions in those cases, if any, on this case. The parties

  are, of course, encouraged to notify the court pursuant to Federal Rule of Appellate

  Procedure 28(j) of any other developments affecting this case in the meantime.
